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                                                                                                                   EXHIBIT
                                                                                                                        36

             From-                       Pughe <bret.pughe@talkdesk.cotn> on behalf of
                                   Bret Pughe <bret.pughe@talkdesk.com>
             Sent:                 Monday, October 1, 2018 9:53 AM
             To:                  Tiago Paiva, Taikdesk <Tiago Paiva, I'alkdesk <tiago@talkdesk.com»
             Cc:                  Mike Strahan <Mikc Strahan <mike.strahan@talkdesk.com»
             Subject:             Re: Bank of Hawaii PureConnect Cloud Notes


            Got it — will do.
            Tlianks again Mike!

            Bret


             Bret Pughe

             Enterprise Account Executive

             4'i5.212.7400


             535 Mission Street. 12lh Floor,

             San Francisco, CA 9't105, USA

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           On Sat, Sep 29,2018 at 4:28 PM Tiago Paiva, Taikdesk <tiago@talkdesk.com> wrote:

             Got it, thanks.

           Bret - let's include that in our list of questions and answers like mike did (that was great).

           On Sat, Sep 29, 2018 at 4:27 PM Mike Strahan <mike.strahan@lalkt!esk.com> wrote:

              No,it's the premise PureConnect platform housed in an nframe datacenter. No microservices, cloud
               1.0, monolithic architecture.


           On Sat, Sep 29, 20!8,7:24 PM Tiago Paiva, Taikdesk <tiago@talkdesk.com> wrote:

                Mike,

           Is PC Cloud really cloud like Taikdesk? It's hard to believe that if it was sold in 2001, that's it's true
               cloud?


          On Sat, Sep 29, 2018 at 2:28 PM Mike Strahan <mikc.stiahan@talkdc.sl<.cum> wrote:

                Ofcourse! Bussinessolver in Iowa, ARI in Milwaukee, Benefit Express in Chicago.
                Businessoiver is VERY unhappy, Mike Tews, who is starting Monday, knows the account very




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                 well.
                 I would save these for a little further in the process as it needs to be the finishing move, and 1
                 would only do one to start.

            Thanks!


            -Mike

            On Sat, Sep 29,2018 at 5:20 PM Tiago Paiva, Talkdesk <tiago@.taIkdesk.com> wrote:

                  Mike,

            This is gold! Can we put this in our competitive intelligence playbooks?

            Who are the three customers we can introduce to Teik as anti-references?

            Thank you!


            On Sat, Sep 29, 2018 at 2:11 PM Mike Strahan <mike.strahan@talkdesl<.com> wrote:

                    Hey Bret, per our conversation yesterday, tiere are the areas of weakness I would focus on with PureConnect Cloud.

                    PureConnect Cloud Is an old legacy cloud platform that Interactive Intelligence started selling in 2001. It has no real
                  future from an R&D perspective. It is complex and difficult to setup, and it goes down all the time. I would make sure
                  that BoH asks to speak with references of their same size in financial services. Have them ask about the
                  implementation process and how long it took them to go live. Watch out for an old trick we pull here, the sales team
                  will try to provide a "Premise" reference in lieu of a "Cloud" reference. They may even coach the customer to say
                  they are "cloud" or "hybrid-coud."

                  PureConnect Cloud is feature rich, so DO NOT get into a feature war with this product, we will lose Genesys will
                  point out our lack of features, weaker reporting (PureConnect has 188 reports out of the box), and smaller
                  organization size. These things don't matter if the product doesn't work and support is poor. We are also rapidly
                  catching up on features.

                  Your path to winning here is to focus on our architecture. Genesys CARE. R8D spend, product cost, and time to
                  implement/value. Do they really want to wait a year to go live? Theywe already had one poor experience with
                  Genesys. why suffer through another?

                  As an absolute bullet I have 3 customers that will provide anti references on PureConnect Cloud if Bank of Hawaii
                  calls Ihem. I can provide more bad references than they can provide good references if it comes to it.
                  Can we run a trial of PureConnect Cloud?
                  What they will say: Possibly (they'll forget and pretend you never asked)
                  The reality: No. They do not have the technical or financial bandwidth to setup a trial Even if they do it will take
                 them 2-3 months to setup an internet only trial.

                 Is it true that Genesys is investing R&D dollars across three platforms? Is this platform in danger of going
                 end of life?
                 What they will say: Absolutely not. The company is invested in supporting the product into the future.
                 The reality: The company invests the least amount of R&D into the PureConnect product. They will keep the product
                 around for maintenance renewals and cloud subscriptions, but don't expect new features or Ul refreshes. The
                 company is in the process of migrating smaller clients off the platform.

                 Are we calling Into the same CARE team we do now? How is It going to be different than the poor service we
                 get now?
                 What they will say No. the PureConnect CARE team is different and better.
                 The reality: The CARE team is the same, based in the Philippines.




attorneys EYES ONLY                                                                                                                           TO 002037
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                  Do you have another client in the islands using this product at our scale?
                  What they will say: We have a number of PureConnect Premise customers.
                  The reality: Notice "Premise." If a site visit is requested they wiil setup a Premise site visit and not mention that it is
                  cioud. They have no referenceaWe PureConnect Cloud clients in the islands.

                  Do you have any Financial Services clients running PureConnect Cioud? Will they be a reference?
                  What they will say: We have a number of PureConnect Premise customers.
                  The reality; Notice "Premise." If a site visit is requested they will setup a Premise site visit and not mention that it is
                  cioud. They have no referenceable PureConnect Cloud banking clients.

                  Where is the nearest PureConnect Cioud datacenler? What is the latency?
                  Denver, CO

                  Where is the faiiover datacenter? What is the latency?
                  indlanapoils. IN

                  Do we need MPLS?
                  What they will say: MPLS is not a requirement.
                  The reality: MPLS is a must have for call quality and data stability, if they suggest RVA,10 or Hybrid, do not
                  implement. All three of these deployment models result in lower stability, fewer features, and bad audio quality. Even
                  an MPLS offers guarantees.

                  How long does it typically take to setup MPLS?
                  What they will say: 2-4 months.
                  The reality: it will take 4-6 months. As long as 12 months. An implementation Bank of Hawaii's size would likely
                  take 12-18 months from signature to Phase 1 Go Live.

                  How often does the platform go down?
                  What they will say: Rarely, and the solution has Switchover for Faiiover.
                  The reality: The platform goes down constantly as it is a monolithic architecture installed in the cloud.

                  How often is the product updated?
                  What they wiil say: Frequently, once per quarter.
                  The reality: Once or twice a year. Mostly bug fixes, occasionally new features.

                  Do we have to take the solution down to update?
                  What they will say: Yes. but you will have Switchover live to update.
                  The reality: Yes, plan to be down 2-4 hours.

                 is it true that you're moving the platform to Microsoft Azure to placate Microsoft as a customer? Have you
                 ever used Azure? What's the migration plan so that customers do not experience a service outage?
                 This is new, so I'm curious to see what their response is here. Jenn may not even know of it yet.

                  This is what I have off the top of my head. Mark, Ralph, please add if I missed anything. I'll send more over as I think
                 on it. Let me know if you have any questions.

                 Thanks!


                 Mike Strahan


                 Vice President of Sales - Central Region

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          Tiago Paiva




ATTORNEYS EYES ONLY                                                                                                                             TO 002038
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            Tiago Paiva


            Tiago Paiva




ATTORNEYS EYES ON LY                                                               jg 002039
